4:05-cr-03014-RGK-DLP      Doc # 78    Filed: 10/12/05   Page 1 of 1 - Page ID # 240




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3014-1
                                         )
            Plaintiff,                   )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
GILBERTO ZUNIGA,                         )
                                         )
            Defendant.                   )

      Upon the filing of the consent and direction to release bond (filing 75),

      IT IS ORDERED that the Clerk of the Court shall release the bond to the Law
Firm of Berry and Kelley.

      October 12, 2005.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
